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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657

Product Liability Litigation

Docket No. 2:06-cv-01189

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* SECTION L
This document relates to: *
*
Marilyn Chase, et al. * JUDGE FALLON
v. *
Merck & Co., Inc., et al. * MAGISTRATE JUDGE KNOWLES
*
Only with regard to: *
Marilyn Chase *
*
*
*

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ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Marilyn Chase in the above-captioned case
be and they hereby are dismissed with prejudice with each party to bear his or her own costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
